      Case 2:18-mc-03831-MHT-SRW Document 2 Filed 08/14/18 Page 1 of 2




                      IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

                         Plaintiff,

                 v.                                   MISC                (- 3g    -mil7-
ALABAMA STATE TREASURER,


                        Garnishee,

JOHN W. GOFF,

                        Defendant.


                                      WRIT OF GARNISHMENT

GREETINGS TO:           Alabama State Treasurer

       An Application for a Writ of Garnishment against the property of JOHN W. GOFF,

defendant, has been filed with this Court. A Judgment has been entered against the above-

named defendant in the amount of $5,065,744.00, plus costs and interest. The balance due on

the Judgment as of August 8, 2018 is $5,283,630.98, with interest accruing at the rate of.5

percent per annum until paid in full.

       You are required by law to answer in writing, under oath, within ten (10)days, whether

or not you have in your custody, control or possession of any property owned by the debtor,

including non-exempt, disposal earnings.

       Please state whether or not you anticipate paying the debtor any future payments and

whether such payments are weekly, bi-weekly or monthly.

       You must file the original written Answer to this Writ within ten (10) days of your
        Case 2:18-mc-03831-MHT-SRW Document 2 Filed 08/14/18 Page 2 of 2




receipt of this Writ with the United States District Clerk at: Clerk, U. S. District Court,

Middle District of Alabama, One Church Street, Suite B-110, Montgomery, Alabama

36104. Additionally, you are required by law to serve a copy of your Answer upon the

debtor at: and upon the United States Attorney, Post Office Box 197, Montgomery,

Alabama 36101.

         Under the law, there is property, which is exempt from this Writ of Gamishment.

Property which is exempt and which is not subject to this Order is listed on the attached Debt

Collection Notice.

         Pursuant to Title 15 U.S.C. §1674, a Gamishee is prohibited from discharging a

defendant from employment by reason ofthe fact that his earnings have been subject to

garnishment.

         If you fail to answer this Writ or to withhold property in accordance with this Writ, the

United States of America may petition the Court for an Order requiring you to appear before the

Court. If you fail to appear or do appear and fail to show good cause why you failed to comply

with this Writ, the Court may enter a Judgment against you for the value of the debtor's non-

exempt property. It is unlawful to pay or deliver to the defendant any item attached by this

Writ.

                                                           Debra P. grat*,tt
                                               UNITED STATES DISTRICT CLERK
